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                                                                        ELECTRONICALLY FILED
                                                                        DOC #:
UNITED STATES DISTRICT COURT                                            DATE FILED:   6/9/2017
SOUTHERN DISTRICT OF NEW YORK
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 EDWIN ZAYAS, Individually and on Behalf of                     :
 All Others Similarly Situated,                                 :
                                                                :
                                              Plaintiff,        : 17-CV-3111 (VEC)
                                                                :
                            -against-                           :     ORDER
                                                                :
 LITTLE WEST 12TH STREET REALTY, L.P.                           :
 and SERAFINA MEATPACKING LLC,                                  :
                                                                :
                                              Defendants. :
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VALERIE CAPRONI, United States District Judge:

       WHEREAS an initial pre-trial conference in this matter was scheduled for June 9, 2017;

       WHEREAS counsel for Plaintiff did not appear at the June 9, 2017 conference and did

not seek an adjournment in advance of the conference;

       IT IS HEREBY ORDERED that by June 16, 2017 Plaintiff is directed to show cause

why this case should not be dismissed for failure to appear and why the Court should not

sanction Plaintiff for same.

SO ORDERED.
                                                    _________________________________
                                                          ____________________________
Date: June 9, 2017                                        VALERIE CAPRONI
      New York, New York                                  United States District Judge
